             Case 2:13-cr-00206-DAD Document 68 Filed 10/28/14 Page 1 of 2


 1   PETER KMETO
     Attorney at Law
 2   State Bar #78827
     1007 Seventh Street, Suite 100
 3   Sacramento, CA 95814
     (916)444-7420; FAX: (916) 914-2357
 4   email: pkmeto@sbcglobal.net

 5                     IN THE UNITED STATES DISTRICT COURT

 6                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 7   UNITED STATES OF AMERICA,                 Case No. 2:13-cr-00206-MCE-2

                 Plaintiff,
 8
                                               STIPULATION AND ORDER
     vs.
 9                                             CONTINUING JUDGEMENT
                                               AND SENTENCING DATE
     DEYONTE J. SPEARS,
10
                 Defendant
11
                 Defendant: DEYONTE J. SPEARS, through his attorney, PETER
12
     KMETO, and the United States of America, through its counsel of record, JASON
13
     HITT, stipulate and agree to the following:
14
                 The presently scheduled Judgment and Sentencing date of October
15
     30, 2014 shall be vacated as to defendant, DEYONTE J. SPEARS, and said
16
     Hearing be rescheduled for December 18, 2014 at 9:00 a.m.
17
     ///
18
     ///
19
     ///
20
     ///
21

22

23
              Case 2:13-cr-00206-DAD Document 68 Filed 10/28/14 Page 2 of 2


 1                 IT IS SO STIPULATED.

 2                 Dated: October 10, 2014       /s/ JASON HITT
                                                Assistant US Attorney
 3                                              for the Government

 4                 Dated: October 10, 2014     /s/ PETER KMETO
                                               Attorney for Defendant
 5                                             DEYONTE J. SPEARS

 6

 7                                        ORDER

 8                 UPON GOOD CAUSE SHOWN and the stipulation of the two

 9   parties, the HEARING FOR JUDGEMENT AND SENTENCING in the above

10   entitled matter is CONTINUED to December 18, 2014, as set forth above.

11
                   IT IS SO ORDERED.
12
     Dated: October 24, 2014

13

14

15

16

17

18

19

20

21

22

23
